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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


In re:                                                       Case No. 18-32106

Erin Energy Corporation, et al., 1                           Chapter 11

          Debtors.                                           (Jointly Administered)



          EMERGENCY MOTION OF NIGERIAN AGIP EXPLORATION LIMITED
         PURSUANT TO SECTION 105(A) OF THE BANKRUPTCY CODE SEEKING
         THE ENTRY OF AN ORDER (I) DETERMINING THAT THE AUTOMATIC
            STAY DOES NOT APPLY TO AN ACTION COMMENCED BY THE
                 DEBTORS OR (II) GRANTING ALTERNATE RELIEF

          THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
          YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
          CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF
          YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE
          A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU
          MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
          DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE
          WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT
          FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED
          WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
          MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST
          ATTEND THE HEARING. UNLESS THE PARTIES AGREE
          OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
          HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

          REPRESENTED              PARTIES          SHOULD          ACT      THROUGH            THEIR
          ATTORNEY.

          EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT
          CONSIDERS THE MOTION ON AN EMERGENCY BASIS, THEN YOU
          WILL HAVE LESS THAN 21 DAYS TO ANSWER. IF YOU OBJECT TO
          THE REQUESTED RELIEF OR IF YOU BELIEVE THAT THE
          EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU
          SHOULD FILE AN IMMEDIATE RESPONSE.

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    The last four digits of Erin Energy Corporation’s federal tax identification number are 9798. The other Debtors
    in these cases are: Erin Energy Limited; Erin Energy Kenya Limited; and Erin Petroleum Nigeria Limited. The
    Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston, TX 77056.

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        THE MOVANT REQUESTS CONSIDERATION OF THE MOTION AS
        SOON AS THE COURT’S CALENDAR WILL ALLOW AND IN ANY
        EVENT NO LATER THAN MAY 23, 2018.

TO THE HONORABLE MARVIN ISGUR, U.S. BANKRUPTCY JUDGE:

        Nigerian Agip Exploration Limited (“NAE”) hereby moves this Court (the “Motion”) for

the entry of an order substantially in the form attached hereto as Exhibit A (the “Proposed

Order”) pursuant to section 105(a) of title 11 of the United States Code (the “Bankruptcy

Code”) determining that the automatic stay does not apply to prohibit NAE from responding to,

and otherwise participating in proceedings relating to, the Vacatur Motion (defined below)

brought prepetition by Debtor Erin Petroleum Nigeria Limited (“EPNL”); or, in the alternative,

should the Court find that emergency relief is not justified under the circumstances, (ii) ordering

that EPNL shall adjourn its Vacatur Motion until the Court may determine this Motion on

regular notice; and (iii) granting such other and further relief as the Court deems just and proper.

In support of this Motion, NAE respectfully represents as follows:

                                PRELIMINARY STATEMENT

        1.       Well prior to the Debtors’ (defined below) bankruptcy cases, NAE received

Arbitration Awards (defined below) against three non-debtor entities, Allied Energy Plc

(“Allied”), CAMAC International Limited (“CIL”) and CAMAC International (Nigeria)

Limited (“CINL”), who the Debtors assert are not currently affiliates of the Debtors. The

Arbitration Awards, which exceed $200 million, were awarded as a result of Allied failing to

meet certain monetary obligations (and CIL’s guarantee thereof) relating to its purchase from

NAE of interests in oil mining leases including the Oyo field in offshore Nigeria. In 2017, NAE

obtained an order from the Federal High Court, Holden at Lagos Nigeria recognizing and

enforcing the final Arbitration Award, and thereafter, on January 23, 2018, a Writ of

Attachment against assets of Allied and CINL (the “Writ”). Pursuant to the Writ, on January

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31, 2018, the sheriff of the Nigerian Federal High Court attached the crude oil produced from

the OMLs (defined below) owned by Allied and CINL and stored at the FPSO Armada Perdana

(the “FPSO”).

        2.       On March 2, 2018, EPNL filed a Motion on Notice with the Nigerian Federal

High Court seeking an order to set aside and vacate the Writ against the assets of Allied and

CINL and the execution carried out by the sheriff (the “Vacatur Motion”), alleging, that it

owned the crude oil attached and the economic interest and participating interest in the oil

mining leases. A hearing on the Vacatur Motion is scheduled to occur on May 21, 2018, but

NAE believes that it is likely that the hearing will be adjourned by the Nigerian Federal High

Court because, inter alia, the pleadings are not fully ripe. 2

        3.       NAE requests emergency consideration of this Motion. Immediate relief is

necessary, as more fully described below, to permit NAE to protect its rights under existing

Nigerian orders recognizing and enforcing its Arbitration Awards and the attachment of assets

of non-debtors Allied and CINL. If NAE is not permitted to respond to, and otherwise

participate in proceedings relating to, the Vacatur Motion, NAE’s rights may be impermissibly

prejudiced and its Writ may be vacated.

        4.       By this Motion, NAE seeks a determination that filing a response to, and

otherwise participating in proceedings relating to, the Vacatur Motion does not violate the

automatic stay because the Vacatur Motion was commenced by, and not against, the Debtor

EPNL, and the stay is therefore inapplicable. The Debtors have stated that they will not assert a

stay violation against NAE for responding to the Vacatur Motion. However, in an abundance of

caution, NAE seeks an order from the Court that such a response filed by NAE, and


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 For example, upon information and belief, EPNL just today served additional pleadings on NAE in the
Vacatur Motion action.

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participation in proceedings relating to the Vacatur Motion, will not be in violation of the

automatic stay in order to protect NAE from potential attack by other parties in interest. In the

alternative, should the Court find that emergency relief is not justified under the circumstances,

NAE further requests that the Court enter an order requiring EPNL to adjourn the hearing on its

Vacatur Motion so that this Court may determine this Motion on regular notice.

                                  JURISDICTION AND VENUE

        5.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This

matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(G).

        6.       The statutory basis for the relief requested in this Motion is section 105(a) of the

Bankruptcy Code.

                                         BACKGROUND

        7.       Upon information and belief, in 2002, the Federal Republic of Nigeria granted

Allied certain Oil Mining Leases 120 and 121 (together, the “OMLs”) located in deep

offshore Nigeria. Allied assigned 2.5% of its interest in the OMLs to CINL in 2002. Pursuant

to a Deed of Assignment dated July 22, 2005, Allied assigned to NAE a forty-percent (40%)

participating interest in the OMLs, with sixty-percent (60%) of the participating interest being

retained by Allied and CINL.

        8.       Upon information and belief, in April 2010, Pacific Asia Petroleum, Inc.

(“PAP”), purported to acquire, through its subsidiary, partial interests in a Production Sharing

Contract with respect to an oilfield asset known as the Oyo Field located in Oil Mining Lease

120 deep offshore Nigeria. Through a series of name changes completed by 2015, PAP is

now Erin Energy Corporation (“ERN”), one of the Debtors in the above-styled and jointly




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administered bankruptcy cases (the “Bankruptcy Case”) and the parent company of the

affiliated Debtors, including EPNL.

        9.       By a certain Sale and Purchase Agreement dated December 29, 2011 (the

“SPA”), Allied purchased NAE’s forty-percent (40%) participating interest in the OMLs, and

all of NAE’s rights under the Nigeria PSC for $250 million in cash (including in deferred

installments) subject to certain adjustments. The SPA transaction closed on June 30, 2012,

and Allied became the operator of the OMLs and the holder of the interest of all of NAE’s

rights in the Nigeria PSC. On June 28, 2012, CIL executed dedicated primary guarantees in

favor of NAE (the “CIL Guarantee”) to secure Allied’s payments under the SPA.

        10.      Soon after the SPA went into effect, Allied failed to pay any of the total

adjustments and certain other liabilities arising under the SPA, as well as deferred payment

installments. As a result, on September 18, 2013, NAE commenced an arbitration proceeding

in the London Court of International Arbitration (“LCIA”) against Allied and CIL due to

Allied’s failure to meet its monetary obligations under the SPA and CIL’s obligations under

the CIL Guarantee. The case was LCIA Arbitration No. 132498 (the “Arbitration”). On

March 13, 2014, Allied and CIL applied to the arbitral tribunal to join CINL as a party to the

Arbitration, and by the First Partial Award dated October 21, 2014, the arbitral tribunal

granted Allied and CIL’s application by joining CINL as a party to the Arbitration.

        11.      Upon information and belief, on February 6, 2014, the Federal High Court,

Holden at Warri Nigeria, in suit number FHC/WR/CS/18/2014, issued interim injunctive relief

which restrained Allied and others from selling, transferring, assigning, alienating or moving

outside of Nigeria its rights and assets arising out of, pertaining to and relating to the OMLs

including the Oyo oil field off the Nigerian coast, and/or any other assets within the



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jurisdiction of the Nigerian Court of Law or removing or disposing of the said assets

whatsoever emanating from, arising from or pertaining to the OMLs and the Production

Sharing Contract (the “Nigeria PSC”) related thereto (the "Nigerian Injunction"). Notice of

the Nigerian Injunction was served on Allied, CIL and persons and entities associated with

Allied and CIL, including Kase Lawal, Kamoru Lawal, and ERN, among others, on February

10, 2014, and the Nigerian Injunction was also published in the Vanguard Newspaper on

February 12, 2014. After the Nigerian Injunction was granted on February 6, 2014, and

served on Allied and others, Allied filed an application dated February 13, 2014 seeking to set

aside/discharge the Nigerian Injunction. Allied’s application has not been granted.

        12.      Upon information and belief, after the Nigerian Injunction was issued, Allied

purported to transfer to EPNL 40% of the interests in the Nigeria PSC, but Allied expressly

retained rights, interests and title in the OMLs.

        13.      The LCIA issued two substantive awards in favor of NAE. The first award was

entered on September 23, 2015 and required CIL to pay NAE nearly $152 million in respect

of NAE’s claims under certain adjustments and the first two deferred payments under the CIL

Guarantee (the “2015 Arbitration Award”). The second substantive award was entered on

February 14, 2017 against Allied and CIL (the “2017 Arbitration Award”, and together with

the 2015 Arbitration Award, the “Arbitration Awards”), which required (i) Allied to pay

approximately $205 million, plus interest, and an additional amount for reimbursement of

NAE’s legal fees, expenses and other costs and (ii) CIL to pay an additional $50 million, plus

interest, in respect to NAE’s claims on deferred payments under the CIL Guarantee for the

third deferred payment. As of March 29, 2018, the total amount payable to NAE, including

interest, exceeds $275 million.



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        14.      In April 20, 2017, NAE sought enforcement of the Arbitration Awards against

Allied and CINL pursuant to the Nigerian Arbitration and Conciliation Act by filing an Ex-

Parte Originating Summons in the Nigerian Federal High Court. See Declaration of Sakiru

Adefemi (Femi) Ayoade in Support of the Debtors’ Chapter 11 Petitions and First Day

Motions (the “Ayoade Declaration”) ¶ 40.

        15.      On May 11, 2017, the Nigerian Federal High Court issued an order granting

NAE recognition and enforcement of the Arbitration Awards (the “Nigerian Enforcement

Order”). On May 30, 2017, the Deputy Chief Registrar of the Nigerian Federal High Court

issued a Certificate of Judgment with respect to the Arbitration Awards. See Ayoade

Declaration ¶ 41.

        16.      Upon information and belief, on June 23, 2017, Allied and CINL filed a Motion

on Notice with the Nigerian Federal High Court seeking, among other things, an order

vacating the Nigerian Enforcement Order, vacating and setting aside the Certificate of

Judgment, and staying the execution and enforcement of proceedings pursuant to the Nigerian

Enforcement Order. Allied and CINL’s motion was struck out by the Nigerian Federal High

Court on January 16, 2018, and the application did not succeed.

        17.      On January 23, 2018, the Nigerian Federal High Court issued a Writ of

Attachment and Sale of Goods against Allied and CINL. Ayoade Declaration ¶ 42.

        18.      Pursuant to the Writ, on January 31, 2018, the sheriff of the Nigerian Federal

High Court boarded the FPSO and attached crude oil stored therein which was owned by

Allied and CINL and produced from the OMLs.

        19.      Upon information and belief, on February 12, 2018, Allied and CINL filed an

Application for Mandatory Injunction (the “Injunction Application”) with the High Court of



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Lagos State, in the Lagos Judicial Division (the “Lagos Court”) to vacate the Writ. On

February 20, 2018, NAE filed a Preliminary Objection seeking an order to strike the

Injunction Application. On March 8, 2018, the Lagos Court refused Allied and CINL’s

Application for Mandatory Injunction.

        20.      On March 2, 2018, Debtor EPNL filed a Motion on Notice in the Nigerian

Federal High Court seeking an order to set aside or vacate the Writ and the execution carried

out by the sheriff of the Nigerian Federal High Court on January 31, 2018, alleging ownership

of the attached crude oil in the FPSO and the economic and participating interest in the OMLs.

EPNL also claimed that (i) the Writ did not authorize NAE to attach EPNL’s crude oil and

that (ii) attachment of EPNL’s crude oil interfered with its constitutionally protected rights.

On March 13, 2018, NAE filed preliminary pleadings in opposition to EPNL’s Vacatur

Motion. The Vacatur Motion presently is set for hearing on May 21, 2018.

        21.      On April 25, 2018 (the “Petition Date”), ERN and EPNL, and their affiliated

debtors (collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11 of

the Bankruptcy Code in this Court. The Debtors’ cases have been consolidated for procedural

purposes only.

        22.      In order to protect its rights, NAE needs to respond to, and participate in

proceedings relating to, the Vacatur Motion. Because the Vacatur Motion was a proceeding

instituted by the Debtor, Bankruptcy Code section 362(a) does not prohibit NAE from

responding to, and otherwise participating in proceedings relating to, the Vacatur Motion.

However, out of an abundance of caution and transparency, NAE seeks emergency relief for a

determination from this Court that the automatic stay does not apply to its response to, or

participation in proceedings relating to, the Vacatur Motion or, in the alternative, should the



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Court find that emergency relief is not justified under the circumstances, NAE further requests

that the Court enter an order requiring EPNL to adjourn the hearing on its Vacatur Motion until

after such time as this Court may determine this Motion on regular notice.

                                       BASIS FOR RELIEF

        23.      Section 362(a) of the Bankruptcy Code provides in relevant part that “the

commencement or continuation . . . of a judicial, administrative or other action or proceeding

against the debtor that was or could have been commenced before the commencement of the

case under this title” is automatically stayed by the filing of a bankruptcy petition. Bankruptcy

Code § 362(a) (emphasis added).          By contrast, actions taken in response to proceedings

prosecuted by debtors do not implicate the automatic stay. See In re U.S. Abatement Corp., 39

F.3d 563, 568 (5th Cir.1994) (citations omitted) (stating that “counterclaims asserted by a debtor

are not actions ‘against the debtor’ which are subject to the automatic stay; … if a debtor’s

offensive claims are not subject to the automatic stay, a fortiori a creditor’s … [response to]

such non-stayed claims is not subject to the automatic stay”); Hayes v. Bank of Am., No. CIV.A.

H-12-377,       2013   WL     5352704,     at   *3       (S.D.   Tex.   Sept.   23,   2013)   (citing

In re Versoy, 306 F. App’x 65, 68–69 (5th Cir.2009) (unpublished) (stating that section 362 has

no effect on litigation initially brought by the debtor)).

        24.      This Court may act pursuant to section 105(a) to the extent necessary to fashion

appropriate relief in these circumstances. As the Supreme Court has held, section 105(a) grants

bankruptcy judges “broad authority . . . to take any action that is necessary or appropriate ‘to

prevent an abuse of process.’” Marrama v. Citizens Bank of Mass., 549 U.S. 365, 375 (quoting

section 105(a)). The Fifth Circuit has also held that section 105(a) is to be “interpret[ed]

liberally,” so long as any action taken pursuant to section 105(a) is “consistent with the rest of

the Bankruptcy Code.” Feld v. Zale Corp. (In re Zale Corp.), 62 F.3d 746, 760 (5th Cir. 1995).

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Section 105(a) thus permits bankruptcy courts to “fashion such orders as are necessary to further

the substantive provisions of the Bankruptcy Code.” Perkins Coie v. Sadkin (In re Sadkin), 36

F.3d 473, 478 (5th Cir. 1994) (quoting Chiasson v. Bingler (In re Oxford Management Inc.), 4

F.3d 1329, 1333 (5th Cir. 1993)).

                                         ARGUMENT

    A. The Automatic Stay Does Not Apply to Claims Initiated by Debtors.

        25.    The United States Court of Appeals for the Fifth Circuit has interpreted the

language “against the debtor” in Bankruptcy Code section 362(a) to mean that, while actions

against the debtor are stayed, actions brought by the debtor are not, and may proceed. See In re

U.S. Abatement Corp., 39 F.3d 563, 568 (5th Cir.1994) (citations omitted) (stating that

“counterclaims asserted by a debtor are not actions ‘against the debtor’ which are subject to the

automatic stay; … if a debtor’s offensive claims are not subject to the automatic stay, a fortiori

a creditor’s … [response to] such non-stayed claims is not subject to the automatic

stay”); In re Versoy, 306 F. App’x 65, 68–69 (5th Cir.2009) (unpublished) (stating that section

362 has no effect on litigation initially brought by the debtor); Riley v. Wells Fargo Bank, N.A.,

No. CIV.A. H-13-0608, 2014 WL 129397, at *1 (S.D. Tex. Jan. 8, 2014) (stating that the

automatic stay only stays proceedings brought “against the debtor”); Hayes, 2013 WL 5352704,

at *3 (S.D. Tex. Sept. 23, 2013) (stating that the automatic stay does not apply to lawsuits

initiated by the debtor); see e.g., Carley Capital Grp. v. Firemen’s Fund Ins. Co., 889 F.2d

1126, 1127 (D.C.Cir.1989).

        26.    Here, the Debtor EPNL brought the action with its Vacatur Motion against NAE

in the Nigerian Federal High Court seeking to vacate the Writ validly issued against two non-

debtor entities that are not affiliates of the Debtors. The Court should determine that the

automatic stay does not apply to proceedings brought by EPNL and therefore does not prohibit

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NAE from responding to the Vacatur Motion. The automatic stay cannot be used offensively by

debtors to bring affirmative claims against parties and then prevent them from responding. See

e.g., In re U.S. Abatement Corp., 39 F.3d at 568; In re Versoy, 306 F. App’x at 68–69; Carley

Capital Grp., 889 F.2d at 1127. Further, prohibiting NAE from responding to, and otherwise

participating in proceedings relating to, a claim brought by EPNL would cause extreme and

impermissible prejudice to the interests of NAE. As a matter of fundamental fairness, NAE

should be permitted to respond to, and otherwise participate in proceedings relating to, the

Vacatur Motion without violating the automatic stay. Although counsel to the Debtors stated

that the Debtors will not assert a stay violation against NAE for responding to the Vacatur

Motion, NAE is seeking, in an abundance of caution, an order of the Court to protect NAE from

potential attacks by other parties in interest. Accordingly, the relief requested in the Motion

should be granted.

    B. In the Alternative, Should the Court find that Emergency Relief is Not Appropriate,
       the Court Should Order the Debtor to Adjourn its Vacatur Motion Until Such Time
       as this Court May Determine this Motion on Regular Notice.

        27.   NAE requests emergency consideration of this Motion. As described herein,

immediate relief is necessary to prevent harm to NAE. If, however, the Court determines that

the Motion should not be determined on an emergency basis, NAE requests that the Court order

the Debtors to adjourn the hearing on the Vacatur Motion so that this Court can fully address

NAE’s Motion on regular notice. If NAE is not permitted to respond or the hearing is not

adjourned, its rights may be impermissibly prejudiced and its Writ may be vacated without NAE

having the opportunity to be heard. Accordingly, principles of equity and fundamental fairness

would require that the Debtor adjourn the hearing on its Vacatur Motion.




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                            EMERGENCY RELIEF REQUESTED

        28.    By this Motion, NAE seeks entry of the Proposed Order on an emergency basis:

(i) determining that the automatic stay does not apply to NAE’s response to, or participation in

proceedings relating to, the Debtor EPNL’s Vacatur Motion; or, in the alternative, should the

Court find that emergency relief is not justified under the circumstances, (ii) ordering that EPNL

shall adjourn its Vacatur Motion until the Court may determine this Motion on regular notice;

and (iii) granting such other and further relief as the Court deems just and proper.

        29.    As explained in the Motion, NAE is at risk of the Nigerian Federal High Court

granting the Vacatur Motion and vacating the Writ, which was properly obtained, if NAE’s

requested relief is not granted. Such a result would cause the rights of NAE to be impermissibly

prejudiced.

        30.    A hearing on other matters is currently scheduled in the Bankruptcy Case for the

morning of May 23, 2018. Accordingly, NAE requests emergency consideration of the Motion

as soon as the Court’s calendar will allow or alternatively at the hearing scheduled on May 23,

2018.

                                        CONCLUSION

        31.    For the reasons set forth above, NAE respectfully requests the entry of an order,

substantially in the form of the Proposed Order, on an emergency basis: (i) determining that the

automatic stay does not apply to NAE’s response to, or otherwise participation in proceedings

relating to, the Debtor EPNL’s Vacatur Motion; or, in the alternative, should the Court find that

emergency relief is not justified under the circumstances, (ii) ordering that EPNL shall adjourn

its Vacatur Motion until the Court may determine this Motion on regular notice and (iii) granting

all such other and further relief, both at law and in equity, to which NAE may justly be entitled.



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Dated: May 18, 2018

                                     Respectfully submitted,

                                     HOGAN LOVELLS US LLP

                                     By: /s/ Ronald J. Silverman

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                                     COUNSEL FOR NIGERIAN AGIP
                                     EXPLORATION LIMITED




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            CERTIFICATION FOR ACCURACY PURSUANT TO LBR 9013-1(i)

       I hereby certify that the facts and assertions made in the Emergency Motion of Nigerian
Agip Exploration Limited Pursuant to Section 105(a) of the Bankruptcy Code Seeking the Entry
of an Order (i) Determining that the Automatic Stay Does Not Apply to an Action Commenced by
the Debtors or (ii) Granting Alternative Relief are true and accurate to the best of my knowledge.


                                                       /s/ Ronald J. Silverman
                                                           Ronald J. Silverman




                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the Emergency Motion of Nigerian Agip
Exploration Limited Pursuant to Section 105(a) of the Bankruptcy Code Seeking the Entry of an
Order (i) Determining that the Automatic Stay Does Not Apply to an Action Commenced by the
Debtors or (ii) Granting Alternative Relief was served to all parties listed as receiving electronic
notice via the courts’ ECF noticing system on May 18, 2018.

                                                       /s/ Randall A. Rios
                                                       Randall A. Rios




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                                  EXHIBIT A

                                 Proposed Order




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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION



In re:                                                      Case No. 18-32106

Erin Energy Corporation, et al., 1                          (Chapter 11)

            Debtors.                                        (Jointly Administered)




 ORDER GRANTING EMERGENCY MOTION OF NIGERIAN AGIP EXPLORATION
LIMITED PURSUANT TO SECTION 105(A) OF THE BANKRUPTCY CODE SEEKING
    THE ENTRY OF AN ORDER (I) DETERMINING THAT THE AUTOMATIC
       STAY DOES NOT APPLY TO AN ACTION COMMENCED BY THE
            DEBTORS OR (II) GRANTING ALTERNATE RELIEF
                                         (Relates to Docket No. ____)

          The Court has considered the Emergency Motion of Nigerian Agip Exploration Limited

Pursuant to Section 105(a) of the Bankruptcy Code Seeking the Entry of an Order (i)

Determining that the Automatic Stay Does Not Apply to an Action Commenced by the Debtors or

(ii) Granting Alternative Relief (the “Motion”) 2; this Court finds that: (i) it has jurisdiction over

this matter pursuant to 28 U.S.C. §§ 157 and 1334; (ii) venue in this district is proper pursuant to

28 U.S.C. §§ 1408 & 1409; (iii) the emergency relief requested in the Motion is warranted in

light of the factual circumstances of these cases and the matters described in the Motion; (iv)

NAE’s notice of the Motion and opportunity for a hearing on the Motion were appropriate under

the circumstances and no other notice need be provided; and (v) having reviewed the Motion and

heard the statements concerning the relief requested therein at a hearing before this Court (the


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    The last four digits of Erin Energy Corporation’s federal tax identification number are 9798. The other
    Debtors in these cases are: Erin Energy Kenya Limited; Erin Energy Kenya Limited; and Erin Petroleum
    Nigeria Limited. The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston, TX 77056.
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    Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion.

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“Hearing”), the legal and factual bases set forth in the Motion and at the Hearing establish just

cause for the relief granted herein. Upon all of the proceedings had before this Court; and after

due deliberation and sufficient cause appearing therefor,

            It is hereby ORDERED THAT:

         1.      The Motion is granted as set forth below.

         2.      The automatic stay does not apply to prohibit NAE from responding to, or

otherwise participating in proceedings relating to, the Vacatur Motion brought by EPNL.

         3.      This Order shall be binding, regardless of the dismissal, withdrawal,

consolidation, conversion or refilling of these cases.

         4.      This Court retains exclusive jurisdiction with respect to all matters arising from

or related to the implementation, interpretation, and enforcement of this Order.



Dated:
                                               MARVIN ISGUR,
                                               UNITED STATES BANKRUPTCY JUDGE




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